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AO 245B 'CCASDRev. 08/13) Judgment in a Criminal Case                                                                          ,~."      .'

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                                      UNITED STATES DISTRICT COURT                                                  FILEO
                                           SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                               2016 MAY -3 AH 10= 32
              UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                 V.                                 (For Offenses Committed On or After NOva~~
            MICHAEL DEAN RICHARDSON (2)                                                                         '-rH                          ..
                                                                       Case Number:         14CR3537-BAS       8f                     I8U!'

                                                                    ROBERT REXRODE
                                                                    Defendant's Attorney
REGISTRATION NO.                 48883298


IZI pleaded guilty to count(s)          ONE (1) OF THE SUPERSEDING INDICTMENT

o was found guilty on countCs)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                     Count
Title & Section                       Nature of Offense                                                             Number(sl
18 USC 1962(d)                        CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                            1
                                      THROUGH A PATTERN OF RACKETEERING ACTIVITY




     The defendant is sentenced as provided in pages 2 through                 5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
       The defendant has been found not guilty on count(s)

IZI Count(s)      REMAINING AND UNDERLYING                    are         dismissed on the motion of the United States.

IZI    Assessment: $100.00



 IZI   No fine                0 Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.


                                                                    MAY 2,2016
                                                                    Date of Imposition ofSentenc



                                                                    HON. C          THIA BASHANT
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                    14CR3537-BAS
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 SIXTY (60) MONTHS




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI   The court makes the following recommendations to the Bureau of Prisons:
       THE COURT RECOMMENDS THE DEFENDANT BE PLACE IN THE BOP RESIDENTIAL DRUG
       AND ALCOHOL PROGRAM (RDAP).




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
             at                         A.M.                  on
             ------------------
        D as notified by the United States Marshal.
                                                                   ------------------------------------
       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
        D     on or before
        D    as notified by the United States Marshal.
        D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on   __________________________ to ______________________________


 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR3537-BAS
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shalI refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



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                               SPECIAL CONDITIONS OF SUPERVISION

   1. Report all vehicles owned or operated, or in which you have an interest, to the probation officer.

   2. Submit your person, property, residence, abode, vehicle, papers, computer, social media accounts, any
      other electronic communications or data storage devices or media, and effects to search at any time, with
      or without a warrant, by any law enforcement or probation officer with reasonable suspicion concerning
      a violation of a condition of probation/supervised release or unlawful conduct, and otherwise in the
      lawful discharge of the officer's duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3). Failure to submit to a
      search may be grounds for revocation; you shall warn any other residents that the premises may be
      subject to searches pursuant to this condition.

   3. The defendant shall participate in a cognitive behavioral treatment program as directed by the probation
      officer, and if deemed necessary by the probation officer. Such program may include group sessions led
      by a counselor, or participation in a program administered by the probation office. The defendant may
      be required to contribute to the cost of the services rendered (copayment) in the amount to be
      determined by the probation officer, based on the defendant's ability to pay.

   4. Be monitored for a period of six months, with the location monitoring technology at the discretion of the
      probation officer. The offender shall abide by all technology requirements and shall pay all or part of the
      costs of participation in the location monitoring program, as directed by the court and/or the probation
      officer. In addition to other court-imposed conditions of release, the offender's movement in the
      community shall be restricted as specified below:

       You are restricted to your residence every day from 10 pm to 6 am, or as directed by the probation
       officer.
       Be monitored while under supervision with location monitoring technology at the discretion of the
       probation officer, which shall be utilized for the purposes of verifying compliance with any court­
       imposed condition of supervision. The offender shall pay all or part of the costs of location monitoring
       based on their ability to pay as directed by the court and/or probation officer.

   5. Not have any contact, direct or indirect, either telephonically, visually, verbally or through written
      material, or through any third-party communication, with the victim or victim's family, without prior
      approval of the probation officer.

   6. Shall not knowingly associate with any member, prospect, or associate of the Tycoons, or any other
      gang, or club with a history of criminal activity, unless given permission by the probation officer.

   7. Shall not knowingly loiter, or be present in locations known to be areas where gang members
      congregate, unless given permission by the probation officer.



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   8. Shall not knowingly wear or possess any paraphernalia, insignia, clothing, photographs, or any other
      materials associated with a gang, unless given permission by the probation officer.

   9. Not knowingly associate with prostitutes or pimps and/or loiter in areas frequented by those engaged in
      prostitution.

   10. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
       and counseling, as directed by the probation officer. Allow for reciprocal release of information between
       the probation officer and the treatment provider. May be required to contribute to the costs of services
       rendered in an amount to be determined by the probation officer, based on ability to pay.

   11. Reside in a Residential Reentry Center, RRC, as directed by the probation officer for a period of up to
       120 days (non-punitive).




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